Case 1:16-cv-00079-AMD-CLP Document 11 Filed 06/27/16 Page 1 of 2 PageID #: 37




ZACHARYW. CARTER                                                                      PAUL H. JOHNSON
                                       Tne Gry oF NEWYonx                             phone: (212) 356-2656
Corporation Counsel
                                    LA\ry DEPARTMENT                                     fax: (212) 356-3509
                                                                                      pajohnso@law.nyc.gov
                                           IOO CHURCH STREET
                                          NEW YORK, N.Y. IOOOT


                                                                 June27,2016

VIA ECF
Honorable Cheryl L. Pollak
United States Magistrate Judge
United States District Court
 for the Eastern District of New York
225 CadmanPlazaBast
Brooklyn, New York Il20I

               Re     Martinez v. City of New York. et al.
                      16-CV-007e (AMD) (CLP)

Your Honor:

        I am the Assistant Corporation Counsel in the Special Federal Litigation Division of the
New York City Law Department, assigned to represent defendant City in the above-referenced
matter. This office writes to respectfully request an adjournment of the settlement conference
scheduled for June 28, 2016 at 3:00 p.m. Plaintiffs counsel, Baree N. Fett, Esq., does not
consent to the requested adjournment and requests that the conference proceed as scheduled so
that the status of discovery may be discussed.

         The City apologizes for the lateness of the request as the parties were conferring about
the next step in this case. The City is requesting the adjournment as it still needs further
information regarding this case. Defendant City made initial disclosures at the Initial Conference
on April 15,2016 of the arresting offlrcer and another offîcer involved in plaintiff s arrest but we
have been informed by plaintiff s counsel that those individuals may not have been the John and
Jane Doe officers referenced in the Complaint. The City has spoken with a few offrcers but still
needs to reach out to a few more to detçrmine, who, if anyone, may have also interacted with
plaintiff. In particular, plaintiff has signed releases for multiple medical providers and the City is
still awaiting those records.
Case 1:16-cv-00079-AMD-CLP Document 11 Filed 06/27/16 Page 2 of 2 PageID #: 38


       For the foregoing reasons, the City respectfully requests that the Court adjoumment the
settlement conference scheduled for June 28,2016 at 3 p.m. and rescheduled for a date 30 days
later.

       Thank you for your consideration herein.

                                                                      submitted,



                                                               H
                                                         As sistqnt Corporation Couns el
cc     Baree N. Fett, Esq. (via ECF.)                    Special Federal Litigation Division
       Attorneyþr Plaintiff




                                            ,2-
